Case 2:17-cv-10721-JTM-JVM Document 294-13 Filed 12/15/20 Page 1 of 5




                   EXHIBIT 10
Case 2:17-cv-10721-JTM-JVM Document 294-13 Filed 12/15/20 Page 2 of 5




                                 1
Case 2:17-cv-10721-JTM-JVM Document 294-13 Filed 12/15/20 Page 3 of 5




                                 2
Case 2:17-cv-10721-JTM-JVM Document 294-13 Filed 12/15/20 Page 4 of 5




                                 3
Case 2:17-cv-10721-JTM-JVM Document 294-13 Filed 12/15/20 Page 5 of 5




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